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                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA

    UNITED STATES OF AMERICA                                     ) CRIMINAL NO. 16-cr-229 (BAH)
                                                                 )
                   v.                                            )
                                                                 )
    RUBEN OSEGUERA GONZALEZ,                                     )
                                                                 )
              Defendant.                                         )
                                                                 )


                        UNOPPOSED MOTION FOR PROTECTIVE ORDER

         The Government respectfully submits this Unopposed Motion for a Protective Order and

requests the Court enter the attached Order.

         The Government respectfully request this Court order discovery to be produced and

maintained as follows:

         a.       The Government will classify certain discovery as (1) items not subject to the

restrictions of the Court’s Protective Order; and (2) sensitive material subject to the Protective

Order (herein after referred to as the “protected discovery”).

         b.       The Government will provide the protected discovery to defense counsel in paper

or electronic format, redacted as appropriate. 1 All documents will also contain Bates stamped

numbers.

         c.       The Government will provide the protected discovery to defense counsel marked

as “SUBJECT TO A PROTECTIVE ORDER” or “PROTECTED MATERIAL.”

         d.       The protected discovery must remain in the custody of defense counsel or the

defense team, as defined below, at all times.


1
         If there are materials that are originally in electronic format, such as video or audio files, the Government
will produce them in the same manner to the defense.
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        e.       Only the Defendant, defense counsel, and members of the defense team may view

the discovery. However, should defense counsel wish to have other individuals view the

discovery for the purposes of assisting in the defense of this case, defense counsel shall submit

their names to the Court in order for the Court to approve them prior to their viewing of the

discovery. These individuals shall sign the acknowledgement form described in paragraph (j)

below prior to viewing the discovery.

        f.       Defendant, and individuals approved by the Court, may view the protected

discovery only for the purpose of assisting in the defense of this case. The defendant, and those

approved by the Court, will not retain custody of any of the protected discovery.

        g.       The protected discovery will not be disclosed to anyone who is not assigned to,

and directly involved in, the preparation of the defense in this case. 2

        h.       Any of the protected discovery filed with the Court shall be filed under seal

under the authority of this Order, except by agreement between counsel.

        i.       The defense team is defined as: (1) a person who is an attorney retained by the

defendant and who has entered an appearance in the above-captioned matter, and is either a

member of the D.C. Bar or admitted to practice either on a full-time basis or pro hac vice before

the United States District Court in the District of Colombia; and (2) any paralegal, investigator,

law clerk, or other employee of such attorneys who are assigned to assist in the preparation of

the defense in this case. All members of the defense team must be subject to the jurisdiction of

the U.S. District Court for the District of Columbia. Defense counsel shall provide a list of

those deemed part of the defense team to the government before sharing protected discovery


2
 For the purposes of this protective order, “disclosed” means physically given, read verbatim, or reproduced in any
way.
                                                          2
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with that individual.

       j.      Defense counsel shall go over the terms of the protective order with the defendant

as well as any members of the defense team. Further, defense counsel shall have the defendant

and defense team members sign an acknowledgement form provided by the Government,

affirming that they understand the terms of the protective order and consequences of violating

the protective order, prior to reviewing any of the protected discovery.

       k.      A copy of this Order shall be kept with the protected discovery at all times.

       l.      At the conclusion of this criminal case, including the final determination of any

appeal, defense counsel shall return to the Government the protected discovery received pursuant

to this Protective Order.



                                              Respectfully submitted,

                                              MARLON COBAR, Acting Chief
                                              Narcotic and Dangerous Drug Section
                                              Criminal Division
                                              U.S. Department of Justice

                                      By:             /s/
                                              Anthony Nardozzi
                                              Brett Reynolds
                                              Kaitlin Sahni
                                              Cole Radovich
                                              Trial Attorneys
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                                CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing was sent via electronic mail, to counsel of record for
the defendant, this 28th day of February 2020.

                                                      /s/
                                              Anthony Nardozzi
                                              Brett Reynolds
                                              Kaitlin Sahni
                                              Cole Radovich
                                              Trial Attorneys
                                              Narcotic and Dangerous Drug Section
                                              Criminal Division
                                              Department of Justice




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